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                                EXHIBIT 1
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    BY EMAIL, Attention: Andy Copping

    LIVE NATION (MUSIC) UK LIMITED
    2nd Floor, Regent Arcade House
    19-25 Argyll Street
    London W1F 7TS

    LIVE NATION ENTERTAINMENT, INC.
    9348 Civic Center Drive
    Beverly Hills CA 90210

    Thursday 11th January 2018

    Dear Andy,

    Staples Center Commitment- Ozzy Osbourne at The 0 2 arena

    We are delighted that you are looking to hold 151 pencil on Monday 11 1h February 2019 for the
    Ozzy Osbourne shows at The 02 arena or pencils for any additional or replacement dates for
    the Ozzy Osbourne shows at The 0 2 arena ("The 0 2 Shows").

    Staples Center Commitment

    As we have previously communicated, and to give effect to our new booking policy, as a
    condition of entering the pencils for The 0 2 Shows, we require both Live Nation
    Entertainment, Inc. and Live Nation {Music) UK Limited (collectively "you" or "Live Nation") to
    execute this letter agreement for the purpose of setting forth your irrevocable and binding
    commitment that. if (i) any of the aforementioned The 0 2 Shows are booked at The 02 arena
    and (ii) O'zzy Osbourne also plays an indoor arena anywhere within twenty five (25) miles of
    the City of Los Angeles as part of the same tour cycle as the aforementioned The 0 2 Shows
    and that show/those shows is/are promoted by a Live Nation Entertainment, Inc. group
    company, then you shall ensure at least one of those O'zzy Osbourne shows in Los Angeles
    shall be held at the Staples Center (the ~staples Center Commitment").

    The foregoing Staples Center Commitment shall not apply to the extent Ansco Arena Limited
    or L.A. Arena Company LLC (collectively, "we" or "us") advise you that the Staples Center is
    not available on the particular date(s) in question due to another event, although, in such
    instance, you hereby agree to use your best efforts in keeping with customary industry
    practice to work with us to find mutually acceptable dates.

    It is envisioned that the Staples Center Commitment will be further reflected in the venue hire
    agreement between Live Nation (Music) UK Limited and Ansco Arena Limited, but, if the
    above conditions are met, the Staples Center Commitment set forth herein shall be binding
    on, and enforceable against, you irrespective of whether or not such terms are eventually
    included in the venue hire agreement.

    Available Remedies

    The Staples Center Commitment is of a special and unique nature. You agree and
    acknowledge that we have agreed to pencil The 0 2 Shows based in part on the consideration
    you have provided for in this letter agreement. We shall have all rights and remedies that
    may be available at law, in equity or otherwise in the event of your breach or threatened
    breach of the Staples Center Commitment set forth herein.



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    You further acknowledge that a breach or threatened breach of the Staples Center
    Commitment may not reasonably be adequately compensated in an action for damages at
    law, and that we shall have available to us any available equitable relief. You hereby agree
    that, without limiting any other remedies, we shall be entitled to preliminary and permanent
    injunctive and other equitable relief (including in accordance with California Civil Code
    section 3423(e) and California Code of Civil Procedure section 526(b)(5)) to restrain your
    breach or threatened breach of the Staples Center Commitment, without the necessity of
    showing any actual damages or that monetary damages would not afford an adequate
    remedy and without any requirement to post bond.

    Governing Law and Venue

    This letter agreement shall be governed by and construed and enforced in accordance with
    the internal laws of the State of California without reference to its choice of law rules.

    Each signatory hereto agrees that any legal action relating to this letter agreement or the
    enforcement of any provision of this letter agreement shall be brought or otherwise
    commenced exclusively in any state or federal court located in Los Angeles, California. Each
    signatory hereto: (i) expressly and irrevocably consents and submits to the aforementioned
    exclusive jurisdiction; (ii) consents to service of process in any such proceeding in any
    manner permitted by the laws of the aforementioned jurisdiction or by registered or certified
    mail, return receipt requested, at its address specified herein; (iii) agrees that the
    aforementioned venue shall be deemed to be a convenient forum; and (iv) waives and
    agrees not to assert (by way of motion, as a defense or otherwise), in any such legal action
    that such entity is not subject to the jurisdiction of such court, that such legal action has been
    brought in an inconvenient forum, that the venue of such proceeding is improper or that this
    letter agreement or the subject matter hereof may not be enforced in or by such court.

    Yours sincerely,

    L.A. Arena Company LLC                            Ansco Arena Limited


    Name:                                             Name:
    Title:                                            Title:



    Acknowledged and agreed as of the first date set forth above:

                                                         v Nation (Music) UK Limited

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